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   11                                UNITED STATES DISTRICT COURT
   12                             CENTRAL DISTRICT OF CALIFORNIA
   13                                         (SOUTHERN DIVISION)
   14
   15   COMMODITY FUTURES TRADING                             Case No. 8:17-cv-01868-JVS-DFM
        COMMISSION,
   16                                                         DEFENDANTS’ MEMORANDUM
                              Plaintiff,                      IN OPPOSITION TO PLAINTIFF’S
   17       v.                                                MOTION FOR PRELIMINARY
                                                              INJUNCTION
   18   MONEX DEPOSIT COMPANY,
        MONEX CREDIT COMPANY,                                 The Hon. James V. Selna
   19   NEWPORT SERVICES                                      Dept. 10C
        CORPORATION, MICHAEL                                  Date: March 19, 2018
   20   CARABINI and LOUIS CARABINI,                          Time: 3:00 p.m.
   21                         Defendants.

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    1                    INTRODUCTION AND SUMMARY OF ARGUMENT
    2           Monex Atlas Transactions are Exempt from CFTC Jurisdiction: The
    3   CFTC’s fraud allegations are baseless, but the CFTC has no jurisdiction over Monex
    4   Atlas transactions regardless. Congress in the Dodd-Frank amendments expressly
    5   exempted from Commodity Exchange Act (“CEA”) coverage all financed retail
    6   precious metals transactions that result in actual delivery within 28 days. Congress
    7   specifically discussed Monex Atlas (with Monex, the CFTC Enforcement Chief, and
    8   the National Futures Association President all present) as delivering and storing
    9   metal the right way to eliminate the particular risk about which Congress was
   10   concerned. That risk was bucket-shop and Ponzi-scheme operators who had no
   11   metals to deliver. Congress also identified Monex’s operation as being consistent
   12   with the Model State Commodity Code under which the CFTC had twice exempted
   13   Monex since its 1987-1988 investigation. Then, following Dodd-Frank, the CFTC in
   14   2013 reconfirmed in its published Final Guidance that compliance with the Model
   15   Code would generally suffice for actual delivery. That Guidance expressly directed
   16   the public to the Congressional record endorsing Monex’s actual delivery model.
   17   That Guidance even provided an on-point example stating that delivery of metals in
   18   fungible bulk form, including any metals purchased using leverage, margin or
   19   financing, to a depository other than the seller or its affiliates, coupled with transfer
   20   of title, constitutes “actual delivery” within the exemption’s meaning.
   21           The CFTC, through its Rule 30(b)(6) witness, concedes that Monex has
   22   delivered to third-party depositories in fungible bulk form every ounce of financed
   23   metal sold to each customer. The CFTC concedes that the depositories used by
   24   Monex are acceptable depositories not affiliated with Monex. The CFTC concedes
   25   that all customer documentation on its face transfers title of the metals to the
   26   customers subject to Monex’s purchase-money liens. The CFTC concedes that
   27   Monex accounts to the depositories on a daily basis for each customer’s ownership
   28   interest in all metals and that the CFTC knows of no errors in that accounting. The
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    1   CFTC also knows of no Atlas customer who did not promptly receive personal
    2   possession of his/her metals on demand after loan repayment. These admissions
    3   alone establish that Monex Atlas transactions are exempt from CFTC jurisdiction.
    4           The CFTC has nevertheless invented solely for litigation purposes a new
    5   definition of “actual delivery” that is untethered from the statute, its history, and from
    6   the CFTC’s Guidance. The CFTC’s 30(b)(6) witness testified that the CFTC’s
    7   litigation-specific definition of actual delivery: requires delivery directly to the
    8   customer (even before loans are repaid) or to a depository of the customer’s choosing
    9   (and that the customer be allowed to inspect the metal at the depository), and
   10   precludes margin calls. These supposed requirements are entirely made up and
   11   patently contradict the CFTC Final Guidance which expressly permits: (1) margin
   12   financing, and (2) delivery to a third-party depository unaffiliated with the seller, (3)
   13   in fungible bulk form. Fungible bulk delivery on behalf of all Monex customers is
   14   impossible if each customer gets to designate his/her own depository. No depository
   15   storing large quantities of precious metals in fungible bulk form would reasonably
   16   permit vault access by individual customers having small partial ownerships. Nor
   17   could the CFTC explain how the customer risk that Congress was concerned about—
   18   that there be actual metals to back each transaction—is increased at all by storage at
   19   Monex’s admittedly acceptable depositories. No reasonable seller would extend
   20   financing if customers could take unfettered control of the metals before any loans
   21   were repaid, and were not subject to minimum loan-equity requirements and margin
   22   calls. Far from Monex’s delivery being a “sham,” as the CFTC contends, it is the
   23   CFTC’s “actual delivery” definition invented for this litigation that is a sham since it
   24   eliminates the express statutory exemption at issue. It is telling that the CFTC’s
   25   30(b)(6) witness could not identify a single retail metals dealer that complies with its
   26   new “actual delivery” definition.
   27           The CFTC seeks to justify this departure from the statute, its own public
   28   Guidance and the legislative record (which its Guidance incorporates) by grossly
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  1   mischaracterizing the Eleventh Circuit’s explanation of actual delivery in CFTC v.
  2   Hunter Wise, 749 F.3d 967 (11th Cir. 2014). The Hunter Wise defendants had no
  3   metals in a depository or otherwise to deliver to customers who repaid their loans.
  4   When the Hunter Wise court discussed a lack of possession and control as defeating
  5   actual delivery, it was observing that the defendants possessed and controlled no
  6   metals to deliver in the first place. When the court said that the delivery in Hunter
  7   Wise was “constructive” and not “actual,” it was rejecting the defendants’ naked
  8   book-entry accounting system that was not backed by any real metals. Nothing in
  9   Hunter Wise suggests that “actual delivery” requires physical possession and control
10    of metals by individual customers who have not yet paid off their loans. Nor could it
11    reasonably do so given the explicit CFTC Guidance permitting margin-financed
12    delivery to third-party depositories in fungible bulk form. Indeed, Hunter Wise
13    quoted with approval the CFTC’s own Final Guidance providing that: “‘actual
14    delivery’ would be satisfied, among other things, by ‘physical delivery [of] the entire
15    quantity of the commodity purchased by the buyer, including any portion of the
16    purchase made using leverage, margin, or financing’ into possession of the buyer or
17    a depository other than the seller.” Id. at 980 (emphasis added). That is precisely
18    what Monex does, as the CFTC’s own 30(b)(6) witness admits.
19            The CFTC Has No General Fraud Jurisdiction Over “Actual Delivery”
20    Transactions: To mask its lack of jurisdiction, and to inflame the Court, the CFTC
21    fabricates a fraud theory. It then asserts with no authority that even if Monex meets
22    the “actual delivery” exemption, the CFTC still has general anti-fraud authority over
23    Monex under CEA § 6(c)(1) which prohibits deceptively manipulative devices in
24    connection with commodity contracts in interstate commerce. But Ninth Circuit
25    precedent makes clear that substantive CEA provisions, such as § 6(c)(1), do not
26    trump jurisdictional limitations in CEA § 2, which defines the CFTC’s jurisdiction
27    and which expressly exempts “actual delivery” transactions. Indeed, under the
28    CFTC’s unprecedented construction, it would have general anti-fraud jurisdiction
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  1   over every retail “commodity” transaction in interstate commerce, including those at
  2   grocery stores and pawn shops. Moreover, Congress explicitly directed § 6(c)(1) at
  3   fraudulent “manipulation” of markets that the CFTC regulates, not sales fraud by
  4   non-regulated entities. That the CFTC Division of Enforcement floats this assertion,
  5   demonstrates further its rogue derogation of Congressional intent.
  6           There is No Fraud: While the CFTC has no jurisdiction over any supposed
  7   retail fraud at Monex, there is no fraud in any event. The CFTC self-described
  8   “heart” of its fraud case is the allegation that Monex hypes the safety, security and
  9   profit potential of metals investment generally without disclosing that Monex-
10    specific transaction costs and fees make it virtually impossible to make a profit.
11    Monex’s extensive risk disclosures repeated with each trade, which the CFTC
12    witnesses, including its 30(b)(6) witness, now admit are clear and understandable,
13    expressly set forth all fees and costs, discuss their impact on a break-even analysis
14    and invite customers to comparison shop. More importantly, the CFTC’s own expert
15    admitted that the CFTC’s core theory—the hidden virtual impossibility of profits
16    with Atlas—is wrong: he saw “no reason why an investor couldn’t earn a profit
17    using, you know, in the Atlas account.” When asked about the CFTC’s allegation
18    that Atlas was almost a “certain loser,” his candid response was that “in legal
19    proceedings, hyperbole is common.”
20             The CFTC misleadingly blames Atlas costs for customer losses (claiming that
21    90% of customers lose), but chose as its “review period” a time of dramatically
22    declining metals prices. The CFTC’s own expert agrees that even with no
23    transaction costs eight of the ten “sample” accounts that the CFTC selected for his
24    analysis would have lost money during the CFTC’s chosen review period based on
25    market declines alone. While this fact disposes of the CFTC’s entire premise, the ten
26    accounts that the CFTC chose to analyze were not randomly selected, but were
27    cherry-picked because those customers made significantly more trades, and thus
28    incurred exponentially more transaction costs, than the average customer. As a
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  1   matter of statistical science, no conclusions can be extrapolated from this non-
  2   random, biased sample to the entire population of 12,000 Monex Atlas accounts.
  3   And, as Monex’s expert has now demonstrated, the CFTC’s assertion of the amount
  4   of Monex customer losses in a rising market is wrong and based only on their now
  5   admitted math error.
  6           Further, the CFTC’s 30(b)(6) witness admitted error in the CFTC’s core
  7   misrepresentation theory that an Atlas brochure’s discussion of the “safety and
  8   security” of depository storage could somehow be read as de-emphasizing trading
  9   risks. He was aware of no one who had ever misinterpreted the depository storage
10    statement that way, and could point to no firm-wide de-emphasis of risk, assurances
11    of profits or promotion of successful Atlas results. Thus, there is no basis for the
12    CFTC to claim that Monex was required to disclose customer track records for non-
13    discretionary accounts. And not one of the CFTC declarants claims even to have
14    seen or relied upon the challenged marketing materials or statements that the CFTC
15    asserts “lured” customers. No CFTC witness claims that Monex represented itself to
16    be a fiduciary and the Monex account agreements expressly disclaim any such
17    relationship. All deposed declarants have either rejected significant CFTC assertions
18    and portions of their own CFTC-drafted declarations or have been discredited. One
19    deposed customer upon reading his declaration asked “who wrote this thing?” Two
20    of the CFTC’s eight customer declarants were highly sophisticated investors who
21    speculated with futures and ETFs prior to Monex, further discrediting the CFTC’s
22    notion that no rational investor would choose Monex over those other alternatives.
23    Even these CFTC cherry-picked declarants understood the risk disclosure statements,
24    monthly account statements, and transaction confirmation statements when they read
25    them at deposition and understood that they had decision-making authority over their
26    own accounts.
27            Ultimately, the CFTC is challenging a business model that it dislikes because
28    it believes that its regulated markets provide a lower cost way to invest in precious
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  1   metals. The CFTC has thus alleged a scheme for which there is no evidentiary
  2   support, and invented new requirements to assert jurisdiction that Congress
  3   intentionally and explicitly rejected. The Court should deny the CFTC’s requested
  4   preliminary injunction and dismiss the case for lack of jurisdiction.1
  5                                            LEGAL STANDARDS
  6           Monex Atlas has been operating in plain view at the same Orange County
  7   location for over 30 years. Yet, the CFTC improperly seeks the most extreme form
  8   of the already extreme preliminary injunction remedy: Instead of “preserv[ing] the
  9   relative positions . . . until a trial on the merits,”2 the CFTC would shut down
10    Monex’s Atlas accounts, seize all its assets, and impose a monitor to “assume
11    control” of whatever remains of Monex’s business. See Pl.’s Mem. in Supp. of Mot.
12    for Prelim. Inj. (“PI Mem.”) at 33-34 (ECF Dkt. 7.1). This would have the same
13    effect as a jury verdict in its favor, plus the most onerous penalties a Court could
14    impose. Any such order would irreparably destroy Monex’s business, even if Monex
15    ultimately prevailed at trial. Because the CFTC seeks an order that “accomplishes
16    significantly more than preservation of the status quo,” it must make a “substantial
17    showing of likelihood of success as to both a current violation and the risk of
18    repetition.” SEC v. Unifund SAL, 910 F.2d 1028, 1040 (2d Cir. 1990).3
19            Nor is the CFTC excused from making a showing of irreparable injury. In
20    statutory enforcement cases, the Court must apply a “sliding scale in which the
21    required degree of irreparable harm increases as the probability of success
22    1
        Given space limitations, this Introduction must serve as a factual statement
23    supported by the accompanying Declarations of Louis Carabini, Gregory Walker,
      Neil Goteiner, and John Enyart, and the Declaration of David Ross, filed previously
24    with Monex’s Daubert motion (ECF Dkt. 154-3). Unless noted, exhibits are to the
25    concurrently filed Declaration of Neil Goteiner (“Goteiner Decl.”).
      2
        CFTC v. 20/20 Trading Co., Inc., 2011 WL 2221177, at *2 (C.D. Cal. June 7,
26    2011) (denying CFTC request for preliminary injunction against precious metals
      dealer).
27    3
        Contrary to the CFTC’s suggestion, there is “[n]o per se rule requiring the
28    issuance of an injunction upon the showing of [a] past violation.” SEC v. Fehn, 97
      F.3d 1276, 1295 (9th Cir. 1996) (citation omitted).
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  1   decreases.” United States v. Nutri-Cology, Inc., 982 F.2d 394, 397 (9th Cir. 1992)
  2   (citation omitted).4 The irreparable injury requirement is not eliminated where, as
  3   here, there is no “undisputed statutory violation.” Id. at 398.
  4           Finally, asset freezes and/or monitor appointments require additional
  5   showings, including: (i) a likelihood of asset dissipation; (ii) inadequacy of available
  6   legal remedies; and (iii) the probability that harm to plaintiff by denying the
  7   appointment would be greater than the injury to the defendant.5 The CFTC’s brief,
  8   however, contains no arguments in support of such relief, which are thus abandoned.
  9   Cf. Kohler v. Inter-Tel Techs., 244 F.3d 1167, 1182 (9th Cir. 2001).
10                                                   ARGUMENT
11    A.      Because Monex Makes “Actual Delivery” Under The CEA, The CFTC
12            Lacks Jurisdiction To Bring These Claims.
13            Even prior to express authorization in the Dodd-Frank Wall Street Reform and
14    Consumer Protection Act of 2010 (“Dodd-Frank”), the CFTC regulated certain
15    financed or leveraged retail commodity transactions. The CFTC took a functional
16    approach to whether such transactions, masquerading as cash transactions, were
17    actually futures contracts. In 1985, the CFTC’s Office of General Counsel issued
18    Interpretive Letter 85-2, which found that financed precious metals transactions
19    resulting in prompt delivery to a third-party depository would not be subject to
20    CFTC jurisdiction.6 In addition, the CFTC did not assert jurisdiction over dealers
21    who complied with the Model State Commodity Code (“Model Code”), which was
22    drafted by state regulators with input from the CFTC and National Futures
23    Association (“NFA”). See Ex. 36 at 580 (Feigin). The Model Code exempts from
24
      4
25      See also 20/20 Trading, 2011 WL 2221177, at *3 (recognizing sliding scale);
      CFTC v. Frankwell Bullion Ltd., 1994 WL 449071, at *4 (N.D. Cal. Aug. 12, 1994)
26    (denying CFTC preliminary injunction) .
      5
        See Johnson v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009) (asset freeze);
27    CFTC v. Comvest Trading Corp., 481 F. Supp. 438, 441 (D. Mass. 1979) (receiver
28    only) .
      6
        Request for Judicial Notice (“RJN”), Ex. 7 (Interpretive Letter 85-2).
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  1   regulation financed retail precious metals transactions if, within a specified period of
  2   time, the purchased metals are: (i) physically delivered (ii) in specifically segregated
  3   or “fungible bulk form” (iii) to the customer or an independent depository to be held
  4   on the purchaser’s behalf (iv) with the “document of title” delivered to the customer
  5   (v) even if the metals remain subject to “liens and encumbrances.” See Cal. Corp.
  6   Code § 29531(b) (California enactment of Model Code); see also RJN Ex. 8 (Model
  7   Code) § 1.04(a)(2).
  8           The CFTC confirmed through two investigations that Monex was delivering
  9   and storing metals to avoid CEA jurisdiction and liability, and that as Mr. Schwartz
10    admitted, the CFTC is unaware of any increased “actual delivery” risks at Monex
11    since those investigations.7 Walker Decl. ¶¶ 5-8; Goteiner Decl. Ex. 4 (Schwartz) at
12    56:23-57:20. That, then, was the record as of the 2009 Dodd-Frank hearings when
13    Congress, the NFA and the CFTC modeled “actual delivery” on the Monex Atlas
14    program. See below, pp. 11-13.
15            The CFTC now wrongly claims that all of this changed with Dodd-Frank. But
16    Congress in the Dodd-Frank amendments in fact used Monex Atlas as the model for
17    “actual delivery” that would be exempt from CFTC jurisdiction. Those amendments
18    were in reaction to CFTC v. Zelener, 373 F.3d 861 (7th Cir. 2004), which in the
19    related foreign currency field rejected the CFTC’s long-standing functional approach
20    to jurisdiction. Zelener instead cabined the futures determination to the four corners
21    of a contract. Dodd-Frank merely reversed Zelener and restored the CFTC’s
22    functional approach. The CFTC’s own 30(b)(6) witness on actual delivery, CFTC
23    Deputy General Counsel Mr. Schwartz, confirmed this very point. Ex. 4 at 16:24-
24    17:21. So does the legislative history discussed below.
25
26    7
        Courts have repeatedly found that Monex complies with the Model Code. E.g.,
      Linkenhoger v. Monex Int’l Ltd., Comm. Fut. L. Rep. (CCH) ¶ 24,161, at *3 (Feb.
27    17, 1988); Motzek v. Monex, 1993 WL 176296, Comm. Fut. L. Rep. (CCH) P25,
28    728 (CFTC May 24, 1993). Authorities not available on Westlaw are attached to
      the concurrently filed Appendix.
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  1           To this end, Congress gave the CFTC express authority over retail transactions
  2   involving “any agreement, contract, or transaction in any commodity that is . . .
  3   entered into . . . on a leveraged or margined basis,” 7 U.S.C. § 2(c)(2)(D)(i); while
  4   simultaneously excluding from the CFTC’s authority leveraged or margined
  5   transactions, “that result[] in actual delivery within 28 days.” Id.
  6   § 2(c)(2)(D)(ii)(III)(aa). Following Dodd-Frank, the CFTC issued Final Guidance on
  7   this new provision, re-confirming that compliance with the Model Code would
  8   constitute “actual delivery,” absent a sham. RJN Ex. 5 at 52428 n.25. Far from
  9   constituting a “sham,” the factors the CFTC advances here describe exempted
10    transactions precluding its jurisdiction, regardless of any supposed (but non-existent)
11    fraud.8
12            1.       Monex’s Delivery Mechanism Satisfies The Plain Text Of The
13                     “Actual Delivery” Exclusion.
14            The plain text of Dodd-Frank’s actual delivery exception does not require that
15    delivery be made to a particular person, in any particular way, or free from
16    encumbrances—it simply requires that delivery be “actual.” 7 U.S.C.
17    § 2(c)(2)(D)(ii)(III)(aa). Black’s Law Dictionary defines “actual” as “[e]xisting in
18    fact; real.” Goteiner Decl. Ex. 34; see also Ex. 35 (Merriam Webster’s) (similar). It
19    defines “delivery” as “[t]he formal act of voluntarily transferring something; esp., the
20    act of bringing goods, letters, etc. to a particular person or place.” Ex. 34. Monex
21    makes “actual delivery” because the precious metals exist in fact and, upon sale, are
22    voluntarily transferred to independent depositories for the buyer’s benefit, subject to
23    typical secured financing restrictions. The CFTC disputes none of these Atlas
24    delivery and storage facts. E.g., Goteiner Decl. Ex. 4 (Schwartz) 61:17-63:8, 72:15-
25
      8
26      CFTC v. White Pine Trust Corp., 574 F.3d 1219, 1227 (9th Cir. 2009) (dismissing
      claims involving undisputed fraud because CEA § 2 precluded jurisdiction); CFTC
27    v. Sterling Trading Grp., Inc., 605 F. Supp. 2d 1245, 1267 (S.D. Fla. 2009)
      (holding the CFTC’s jurisdiction “is not at all affected by whether Defendants
28    committed the fraudulent practices”).
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  1   73:1, 86:4-21.
  2           The crux of the CFTC’s “plain-text” argument appears to be a third definition
  3   in Black’s Law Dictionary of the combined term “actual delivery” in a non-financing
  4   context. Namely: “[t]he act of giving real and immediate possession to the buyer or
  5   the buyer’s agent.” See PI Mem. 7. But the CFTC’s argument ignores both the
  6   statute, which applies to financed products, and its 2013 Final Guidance that
  7   expressly approves of Model Code delivery, including the seller holding the precious
  8   metals (fungible and bulk) in the depository as collateral for the loan. Moreover,
  9   Congress limited the CFTC’s rulemaking authority only to lengthen the 28-day
10    period, not for determining the meaning of “actual delivery.”9 No agency deference
11    exists when a court must resolve the issue in litigation10 and where, as here, the
12    agency’s litigation-specific position contradicts its prior policy and positions,11 and is
13    without any legitimate explanation of relevance to the statute. CFTC v. Am. Precious
14    Metals, 845 F. Supp. 2d 1279, 1286-87 (S.D. Fla. 2011) (rejecting CFTC’s
15    convenient litigation jurisdiction position as inconsistent with its interim final rule
16    version ); see also FTC v. Invention Submission Corp., 965 F.2d 1086, 1089 (D.C.
17    Cir. 1992) (a court need not accept an “agency’s own appraisal of relevancy” where
18    it is “obviously wrong”).
19            The Court must look to the statutory “context” and the CFTC’s prior positions.
20    United States v. Maciel-Alcala, 612 F.3d 1092, 1098 (9th Cir. 2010); In re Search
21
      9
22      Absent delegation of rulemaking authority, an agency’s interpretive statements
      regarding statutes are “undeserving of substantial deference under Chevron.”
23    Atchison, Topeka & Santa Fe Ry. Co. v. Pena, 44 F.3d 437, 442 (7th Cir. 1994).
      Instead, courts test “the thoroughness, validity, and consistency of the agency’s
24    reasoning.” Id. (citation omitted).
      10
25       Zelener, 373 F.3d at 867 (citing Adams Fruit Co. Inc. v. Barrett, 494 U.S. 638,
      649-50 (1990)).
26    11
         Smiley v. Citibank (S.D.), N.A., 517 U.S. 735, 742 (1996) (noting failure to take
      account of legitimate reliance on prior interpretation may be arbitrary and
27    capricious); Indep. Ins. Agents of Am., Inc. v. Bd. of Governors of Fed. Reserve
28    Sys., 838 F.2d 627, 632 (2d Cir. 1988) (noting courts should be “especially careful
      not to allow dubious [agency] arguments” when construing prohibitory statutes).
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  1   Warrant for [REDACTED].com, 248 F. Supp. 3d 970, 976 (C.D. Cal. 2017). This
  2   includes examining, “how the terms were defined at the time the statute was
  3   adopted.” United States v. TRW Rifle 7.62x51mm Caliber, One Model 14 Serial
  4   593006, 447 F.3d 686, 689 (9th Cir. 2006) (internal punctuation omitted). The
  5   legislative context disproves the CFTC’s newly minted assertions.
  6           2.       The Statute and Legislative Record Support Monex.
  7           The CFTC would read the plain words “margined basis” out of the express
  8   statutory exemption. 7 U.S.C. § 2(c)(2)(D)(i) and (ii)(III)(aa); see also Black’s Law
  9   Dict. Online 2d Ed. (“Margin” is “[a] speculator's cash or securities deposited as
10    collateral with a stockbroker.” (emphasis added)). That Congress passed legislation
11    directed specifically at leveraged and margined retail commodities transactions
12    presupposes that any such transactions would be secured by liens and collateral, and
13    subject to margin and liquidation contingencies in the event of diminution of the
14    value of that collateral—just like all margined trading. It is nonsensical for the
15    CFTC now to claim that these ordinary elements of secured financing are evidence
16    that Monex’s delivery mechanism is a “sham.” E.g., Goteiner Decl. Ex. 4 (Schwartz)
17    at 77:22-79:4.
18            The CFTC’s motion and 30(b)(6) witness also evaded Dodd-Frank’s
19    legislative history even though its own 2013 Formal Guidance and 2011 Request for
20    Comments expressly directed sellers to the legislative history of the actual delivery
21    exemption to understand its meaning. RJN Ex. 5 (Final Guidance) at 52428; RJN
22    Ex. 6 (Request for Comments), at 77671 n.12 (quoting Congressman Marshall that
23    Congress was only “correcting” Zelener); Goteiner Decl. Ex. 4 (Schwartz) at 9:13-
24    10:11. The only public legislative discussion of the exemption (to which the CFTC
25    twice pointed) was a June 2009 Congressional Subcommittee Hearing at which
26    Congress heard testimony from the President of the NFA (Dan Roth), a Monex
27    representative and former state regulator (Philip Feigin), and the Acting Director of
28    the CFTC Enforcement Division (Steven Obie). RJN Ex. 1. The NFA and CFTC
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  1   work hand in hand to protect commodities investors from increased risk. Goteiner
  2   Decl. Ex. 4 (Schwartz) 15:10-21; RJN Ex. 1 at 17-18. The Subcommittee Hearing’s
  3   purpose was to address the scope of potential CFTC jurisdiction over financed retail
  4   commodities transactions in the wake of Zelener. RJN Ex. 1 at 21-28. All testimony
  5   was uniform: Congress’ objective was to eliminate customer risk posed by precious
  6   metals bucket shops and Ponzi schemers who had no metals to sell. See id. at 8, 13,
  7   38. Mr. Schwartz for the CFTC finally agreed that this was the stated objective.
  8   Goteiner Decl. Ex. 4 (Schwartz) 16:12-14, 19:10-24, 20:5-20, 21:1-8, 107:1-11. All
  9   agreed in that hearing that Monex’s Model Code–compliant delivery eliminated that
10    risk and would be exempt from CFTC reach.
11             First, Mr. Roth testified about the NFA’s proposed response to Zelener, stating
12    that it should preserve the “1985 interpretative letter issued by the CFTC Office of
13    General Counsel, which Monex International and similar entities rely on.” RJN
14    Ex. 1 at 10 (emphasis added). Mr. Roth specifically stated that the proposed
15    legislation “would not affect Monex.” Id. (emphasis added). It was Roth who
16    proposed the actual delivery exemption that Congress ultimately adopted. See id. at
17    17-18.
18             Second, there was considerable testimony and documentation from Mr. Feigin
19    regarding Monex’s Model Code delivery that prevented bucket shops. Id. at 11, 13-
20    14 (describing Monex’s delivery mechanism), 11-12, 15-17 (describing Model
21    Code). The Model Code (precisely like the Congressional response to Zelener) was
22    intended to prevent: “two fundamental fraudulent patterns of conduct that showed up
23    most frequently: (i) . . . delivery was not required for many months (there were no
24    commodities and the company vanished with the money the customer had paid); and
25    (ii) consumers were buying precious metals from out-of-state companies promising
26    to store the metal for them, but the companies never bought the metal and
27    squandered the cash.” Id. at 15.
28             Third, CFTC Enforcement Director Obie testified about the scope of the
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  1   regulatory authority the CFTC was seeking following Zelener. He confirmed that the
  2   CFTC was “not looking at where tangible products are delivered.” Id. at 31. Instead,
  3   he explained that the CFTC was trying to reach “fraudsters and Ponzi schemers” and
  4   “swindlers” who had recently left the foreign exchange markets and entered the
  5   precious metals markets following Zelener. Id. at 4-5, 19, 26. Mr. Obie never once
  6   took issue with Monex’s delivery as it was being presented to Congress as the very
  7   model for the exemption. Indeed, the CFTC had already twice thoroughly examined
  8   Monex to confirm that it properly delivered metals. See Walker Decl. ¶ 5-7.
  9            After hearing the above testimony, Congressman Marshall expressed his view
10    that if retailers complied with the Model Code, the CFTC and NFA should be able
11    “to go after the Ponzi schemes that are now popping up . . . and Monex and others
12    who are . . . actually delivering would be okay and they wouldn’t have to fool with
13    you guys.” RJN Ex. 1 at 23 (emphasis added).
14            That the CFTC would now claim that Monex fails to meet Congress’
15    definition of “actual delivery” when: (1) Congress and the NFA used Monex as the
16    example of proper delivery, (2) with the CFTC Enforcement Chief present, and (3)
17    the CFTC then twice over two years directed sellers to that very legislative history to
18    understand the meaning “actual delivery,” tells all.
19            3.       Congress Rejected the CFTC’s “Actual Delivery” Definition.
20            Indeed, Congress declined the CFTC’s request to define “actual delivery” the
21    very way the CFTC asserts here. On August 17, 2009, two months after the Hearing,
22    then-CFTC Chairman Gensler sent to Congress a “memo with recommendations to
23    improve the [Dodd-Frank] legislation.”12 The Gensler memo included a markup
24    showing proposed revisions that would define “actual delivery” to preclude “delivery
25    to a third party in a financed transaction where the commodity is held as collateral.”
26    RJN Ex. 2 (Gensler Analysis) at 6. The Gensler proposal also reduced the delivery
27
      12
28      RJN Ex. 2 (“Gensler Letter” with attached “Gensler Analysis,” collectively
      “Gensler Memo”).
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  1   time from 28 days to 3 days. A subsequent draft of the legislation came before the
  2   Senate on May 20, 2010 and incorporated this CFTC proposed language. RJN Ex. 3,
  3   § 742 (bb)(v).
  4           Congress, however, ultimately rejected the CFTC’s proposed no depository /
  5   no collateral / three-day limitation on “actual delivery.” See 7 U.S.C.
  6   § 2(c)(2)(D)(ii)(III). Because Congress expressly considered the CFTC’s proposed
  7   limitation, the Court should find that Congress did not intend to remove from the
  8   exemption financed transactions delivered to a third-party depository as collateral.
  9   See I.N.S. v. Cardoza-Fonseca, 480 U.S. 421, 442-43 (1987) (“Few principles of
10    statutory construction are more compelling than the proposition that Congress does
11    not intend sub silentio to enact statutory language that it has earlier discarded in favor
12    of other language.” (citation omitted)).
13            4.       Monex’s Physical Delivery Follows the CFTC’s Public Guidance.
14            In addition to subverting Congress’ intent, the CFTC’s litigation position also
15    contradicts its express public Guidance which states that “an agreement, contract, or
16    transaction that results in ‘physical delivery’ within the meaning of section
17    1.04(a)(2)(i)-(iii) of the Model State Commodity Code would ordinarily result in
18    ‘actual delivery’” absent a sham.13 That delivery—physical delivery in fungible bulk
19    form to an independent depository with transfer of title even if encumbered by
20    liens—is the same as Monex’s delivery mechanism. RJN Ex. 8, § 1.04(a)(2); Cal.
21    Corp. Code § 29531(b). Indeed, in its on-point Final Guidance “Example 2,” the
22    CFTC confirms that “Actual delivery will have occurred if, within 28 days, the seller
23    has: (1) Physically delivered the entire quantity of the commodity purchased by the
24    buyer, including any portion of the purchase made using leverage, margin, or
25    financing, whether in specifically segregated or fungible bulk form, into the
26
      13
         Compare Goteiner Decl. Ex. 4 (Schwartz) 22:25-23:8 (resisting Guidance), with
27    RJN Ex. 5 (Final Guidance) at 52428 n.25. The CFTC tellingly buries reference to
28    its Final Guidance, Example 2, in a footnote and even then does not mention its
      adoption of the Model Code. See PI Mem. at 8 n.22.
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  1   possession of a depository . . . ; and (2) has transferred title to that quantity of the
  2   commodity to the buyer.” RJN Ex. 5 at 52428.
  3           Further, the CFTC now admits that nothing in the Model Code’s definition of
  4   physical delivery, Congressional history, or the CFTC’s Final Guidance refers to, let
  5   alone requires, unrestricted customer “possession and control”—the CFTC’s
  6   litigation ipse dixit that Monex’s Model Code delivery is a sham.14 Indeed, the
  7   CFTC’s Final Guidance contemplates exactly the opposite. It expressly refers to
  8   delivery of metal on a financed or margined basis to a third-party depository in
  9   fungible bulk form. Financing contemplates collateral, and margin contemplates
10    margin calls. Delivery of multiple customers’ metal in fungible form is not possible
11    if each customer gets to designate his/her own depository and have unfettered
12    possession and control of his/her own non-segregated metals stored in bulk. Yet the
13    CFTC is still pushing that misdirection. E.g., Goteiner Decl. Ex. 4 (Schwartz) 84:21-
14    85:15 (analogizing collateralized gold coins to cars with liens). Further, the CFTC
15    now finally admits that it has nothing other than the statute, devoid of legislative
16    history (to which the CFTC directed the world), and Hunter Wise to support the
17    CFTC’s litigation-specific “possession and control” notion.15
18            5.       The CFTC Grossly Mischaracterizes Hunter Wise.
19            The CFTC, however, distorts and misapplies the Eleventh Circuit’s decision in
20    CFTC v. Hunter Wise Commodities, LLC, 749 F.3d 967 (11th Cir. 2014), to justify
21    casting aside its own Final Guidance and the legislative history. It falsely claims that
22    the Hunter Wise transactions are “almost identical to Monex’s transactions,” PI
23    Mem. 7, even though the Hunter Wise defendants—unlike Monex here—“had no
24
      14
25       Compare PI Mem. 8, 12-14, with Goteiner Decl. Ex. 4 (Schwartz) 5:25-7:9,39:4-
      8 (30(b)(6) admission there was no control or possession notion either in legislative
26    history or Guidance although the Guidance defines “actual delivery”), and RJN Ex.
      5 (Final Guidance).
27    15
         Goteiner Decl. Ex. 4 (Schwartz) at 51:20-52:9. Mr. Schwartz at first added the
28    December 2017 crypto currency regulations id. (8:24-9:7, 54:22-25), which he then
      admitted are not relevant here. Id. 55:1-56:6.
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  1   metals to deliver.” 749 F.3d at 978. Instead, the Hunter Wise defendants simply
  2   engaged in naked accounting book-entries purporting to transfer to customers title to
  3   metals they never possessed. Id. at 980. The Eleventh Circuit found in these
  4   circumstances that delivery was “constructive,” and not “actual” because defendants
  5   did not possess and control the metals they were purporting to sell customers. Id.
  6   (“Accordingly, the district court found that Hunter Wise did not possess or control an
  7   inventory of metals from which it could deliver to retail customers.”). Nothing in
  8   Hunter Wise supports the CFTC notion that the customers must have unfettered
  9   possession and control before repaying their loans. Even the CFTC finally admitted
10    these factual differences on January 18, 2018 (Goteiner Decl. Ex. 4 (Schwartz) 42:8-
11    43:6), in addition to admitting that Hunter Wise is “straightforward” and “not
12    controlling here.” Id. 40:21. Hunter Wise is instead the paradigm of what Congress
13    intended to stop with Dodd-Frank, a bucket shop or Ponzi scheme backed by no
14    actual metals.
15            Here, by sharp contrast, the CFTC has conceded through its actual
16    delivery/risk 30(b)(6) witness that: (1) Monex always has sufficient metals
17    inventories to satisfy every customer position with no risk of non-delivery (Goteiner
18    Decl. Ex. 4 (Schwartz) 30:15-17, 86:4-21); (2) Monex accounts on a daily basis to
19    the depositories allocating the ownership positions of each customer kept in fungible
20    form and the CFTC is aware of no errors in such accounting (id. 76:19-77:11, 94:5-
21    8); (3) there are no risk or other issues with passage of title and ownership of the
22    actual metals to the customers (the CFTC has no reason to doubt that the customer
23    has ownership interests) (id. 60:15-61:3, 61:17-62:1,72:1-6); (4) there is no increased
24    risk associated with Monex having a security interest or from the customer-Monex
25    documentation (id. 77:12-19, 84:2-4, 94:5-8); (5) the CFTC is unaware of any
26    customer being unable to obtain metals fully paid for (id. 86:4-21); (6) the
27    depositories used by Monex are recognized depositories having no affiliation with
28    Monex (id. 72:15-73:1); and (7) there is no increased risk arising from the Monex-
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  1   depository arrangements (id. 89:18-90:12). The CFTC has thus effectively admitted
  2   that Monex is the paradigm example of “actual delivery” that Congress intended to
  3   exempt. See also CFTC v. Monex Deposit Co., 824 F.3d 690, 694 (7th Cir. 2016)
  4   (Hunter Wise is “considerably different” from this case because it involved “a
  5   metals-trading program in which no metals change hands”).
  6           Indeed in CFTC v. Worth, 2014 WL 11350233 (S.D. Fla. Oct. 27, 2014), the
  7   court rejected a similar CFTC attempt to misuse Hunter Wise, even without the
  8   instant CFTC 30(b)(6) admissions. The CFTC there claimed, prior to Hunter Wise,
  9   that on certain occasions the Worth defendants delivered metals late, after 28 days,
10    and in those instances lost their exemption for the transactions to be off-exchange.
11    The Complaint, however, did not allege a failure of delivery when real metal was
12    delivered within 28 days to a depository in the manner Monex does. In response to
13    Worth’s motion to dismiss, the CFTC refuted the defendants’ argument that the
14    actual delivery exemption was “vague and requires further guidance” by declaring “It
15    is not and does not.” Ex. 39 at 13 (CFTC Resp. to Mot. to Dismiss). The CFTC
16    further argued that its enforcement action was not a due process violation
17    because it “does not allege that there is anything violative with Worth’s practice
18    of making ‘actual delivery’ by physically delivering metal to a depository and
19    allocating it to an account held in the customer’s name.” Id. at 16 (emphasis
20    added). The CFTC affirmatively stated that “ownership of metals is transferred
21    directly from Worth to its customers” by delivery of the metals to the depository
22    and title transfer. Ex. 40 at 11 (CFTC Mot. for Prelim. Inj.).
23            But after Hunter Wise was decided, the CFTC changed course and argued
24    there, as here, that under Hunter Wise the defendant’s delivery of precious metals,
25    even within 28 days, did not constitute “actual delivery” because the metals were not
26    transferred into the customers’ actual physical possession before loan repayment. In
27    denying the CFTC’s motion to amend, the district court rebuked the CFTC for this
28    about-face, noting it, “would mean that, regardless of Worth’s allocation procedures,
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  1   recordkeeping, and whether it purchased physical metals at all, each and every
  2   financed transaction would violate Dodd-Frank.” Worth, 2014 WL 11350233 at
  3   *2.16 Nothing has changed here since Worth. The CFTC 30(b)(6) witness, “can’t
  4   point to one company,” which makes “actual delivery” under its post-Hunter Wise
  5   definition. Goteiner Decl. Ex. 4 (Schwartz) 108:22-109:14.
  6           Worth also noted that the CFTC’s position violated the defendant’s
  7   constitutional right to fair notice. See id. at *3. That is true here as well; Monex
  8   follows the CFTC’s Guidance, which the CFTC cannot change to reject
  9   Congressional intent. See Defs.’ Mot. to Dismiss (“MTD”) at 27-33 (Dkt. 41-1).
10            6.       The CFTC’s “Sham” Assertion is Frivolous.
11            Because Monex’s delivery complies precisely with the CFTC Final Guidance,
12    the Model Code, and Congressional intent, the CFTC cynically mislabels it a
13    “sham;” for that is the only failure of Model Code delivery the Guidance recognizes.
14    RJN Ex. 5 at 52428 & n.25. But the main factors on which the CFTC relies to cry
15    sham—delivery in fungible bulk form to an independent depository; issuance of a
16    document of title; continuing liens and expected financing—are the very criteria
17    which the Final Guidance and the Model Code adopt as constituting actual delivery.
18    Even the CFTC’s 30(b)(6) witness recognized that keeping the metal in fungible bulk
19    form with daily accounting adds no risk to the customer and complies with the
20    Guidance. Goteiner Decl. Ex. 4 (Schwartz) 76:19-77:11.
21            Struggling to identify any “sham” factors increasing customer risk, the CFTC
22    makes up actual delivery requirements. See PI Mem. 6-18. They are litigation-
23    specific technical points which the CFTC fabricates to address, or to create, risks that
24    are irrelevant to Congress’s bucket shop/Ponzi scheme concerns. For instance, while
25    the CFTC complains that customers have no depository control, Mr. Schwartz
26
27    16
        Judge Easterbrook patiently tried to make the same point to CFTC counsel in the
28    earlier Seventh Circuit oral argument during the investigatory stage of this case.
      Ex. 41 at 14-16.
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  1   admitted there is no increased customer risk from Monex’s use of unaffiliated
  2   depositories. Goteiner Decl. Ex. 4 (Schwartz) 89:12-90:12. He nonetheless insisted
  3   nonsensically that a sham factor to consider is that Atlas customers cannot designate
  4   or contract with their own depositories. Id. 94:17-96:1.
  5           While the CFTC describes Monex’s title transfer documents as a “sham” (PI
  6   Mem. 12-14), Mr. Schwartz rejected that argument and contradicted his predecessor
  7   30(b)(6) witness, Mr. Gomberg, noting that Monex passes title to the customer and
  8   provides proper notice to the customer as discussed in the Atlas Account Agreement
  9   (“AAA”), at no increased risk to the customer.17 Goteiner Decl. Ex. 4 (Schwartz)
10    60:15-61:3, 76:19-77:21 (confirming no increased risk from the transaction
11    documentation between Monex and the customer).
12            The CFTC next falsely claims that actual delivery does not occur because “a
13    substantial portion of the metals ultimately secure Monex’s own financing.” See PI
14    Mem. 16, 17-18. Monex’s lenders only have whatever rights in customers’ metals
15    that Monex has. All documentation, both with Monex’s customers, its depositories
16    and its lenders, recognizes the customer’s interest in stored metals. Indeed, § 5.03 of
17    the Servicing Agreement with Monex’s lenders respects each customer’s right to any
18    surplus proceeds from liquidation of their metals collateral as a result of failure to
19    timely repay their loan or otherwise comply with their agreements. Moreover, even
20    in the remote confluence of: (i) Monex’s default on its debt financing, (ii) the
21    inadequacy of the Monex-owned (not customer-owned) metals inventory to satisfy
22    such debt, and (iii) the failure of Monex’s customers’ to timely repay their loan debts
23    to Monex for metals they own, § 5.04 of the Service Agreement makes clear that the
24    net liquidation proceeds belong to the customers, rather than to Monex’s lenders.
25
26    17
         Moreover under the UCC, Monex’s documentation is legally effective to transfer
      title, notwithstanding any liens that may continue to attach, as long as they are
27    “explicitly agreed on by the parties.” See Cal. Comm. Code § 2-401(2)(b). Here,
28    the Atlas Agreement expressly provides for transfer of title upon issuance of the
      CTTNs. See Walker Decl. Ex. C at 3-4, ¶¶ 7.3-7.4 (Purchase and Sale Agreement).
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  1   Thus, the customers’ metal is not an asset of Monex and is not available as collateral
  2   for loans to Monex. Enyart Decl. ¶ 4; Carabini Decl. ¶¶ 26-27. Monex uses only its
  3   own receivables from customers’ outstanding loan obligations as collateral, just as a
  4   bank or mortgage company may do with respect to its secured loan receivables.
  5   Carabini Decl. ¶ 26.
  6           In the face of this documentation, Mr. Schwartz didn’t know if any Monex
  7   lender rights increased customer risks beyond those disclosed in the AAA. Goteiner
  8   Decl. Ex. 4 (Schwartz) at 90:20-91:16. But he admitted that the documentation
  9   provides that it is each customer, rather than Monex’s lender, who is entitled to the
10    surplus from any liquidation of such customer’s metal to repay such customer’s loan.
11    Id. 110:24-111:20. That should have ended the CFTC’s search for a sham.
12            Mr. Schwartz however, speculated without information, that in the event of a
13    Monex bankruptcy, Monex customers might be treated as unsecured creditors with
14    contractual rights against Monex, rather than as owners of the stored metals (which
15    he also contradictorily admitted that they were). Id. 60:22-62:1, 65:8-66:12, 99:23-
16    100:17. But he conceded that this risk stems not from any Monex lender agreements,
17    but from the fact of no customer physical possession (id. 65:8-20) which of course
18    follows from bulk fungible storage.18 Fungible bulk depository delivery, however, is
19    Model Code compliant and CFTC Guidance-endorsed. And so whatever risk the
20    CFTC conjures from its Guidance, which Guidance Monex followed, is not any fault
21    of Monex’s. Thus the CFTC cannot use such remote hypothetical scenarios to trump
22    Congressional intent and enjoin Monex.
23            Relatedly, Congress was obviously comfortable with this firm enterprise risk
24    that the CFTC now labels sham, since Congress: (1) rejected Gensler’s proposed
25    amendment and stuck to the 28-day delivery period in which a firm could
26
      18
        Mr. Schwartz simultaneously acknowledged, however, that he didn’t see a
27    difference between the customer’s legal and physical possession, which suggests
28    that the CFTC is again attempting to sow confusion. Goteiner Decl. Ex. 4
      (Schwartz) at 7:17-8:2.
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  1   theoretically go bankrupt and leave the customer with having paid but without the
  2   metal, and (2) did not give CFTC authority to shorten the 28-day period. Moreover,
  3   the CFTC’s witness has the law wrong and any decision by a bankruptcy court
  4   failing to recognize customer ownership of their metals would likely be error. E.g.,
  5   Grede v. FCStone, LLC, 867 F.3d 767, 788-89 (7th Cir. 2017) (securities beneficially
  6   held for customers by bankrupt futures commission merchant in an undivided
  7   fungible lot but accounted for daily with detailed ledgers were property of customers,
  8   not bankruptcy estate, even though debtor used such trust property as collateral for its
  9   own borrowing).19
10            The CFTC also wrongly contends as a sham factor that Monex “can (and does)
11    liquidate customer trading positions at any time and for any reason.” PI Mem. 11.
12    While margin calls are a normal attribute of margin transactions, and Monex broadly
13    reserves rights as would any lender, Monex does not liquidate customer positions
14    “for any reason.” Carabini Decl. ¶¶ 28, 44. Despite the CFTC’s assertion, there is
15    no evidence in the record that Monex ever liquidated a customer’s account “at any
16    time and for any reason.”20 And whatever discretion Monex has, it must act
17    reasonably and in good faith just like any contracting party. See Chodos v. W. Publ’g
18    Co., 292 F.3d 992, 996 (9th Cir. 2002) (covenant of good faith and fair dealing is
19    implied in every contract). Indeed, the CFTC’s 30(b)(6) witness acknowledged that
20    it was understandable that Monex would take a lien so that it could foreclose metals
21    if they needed to collect what was owed. Goteiner Decl. Ex. 4 (Schwartz) 62:17-
22    63:1. He also admitted that there was no greater risk of margin calls with Atlas than
23    with other investments and that he had no information of Monex ever issuing a
24    margin call for no reason. Id. 78:21-79:21. He also conceded that a liquidation
25    19
         Accord, In re Zhejiang Topoint Photovoltaic Co., Ltd., No. 14-24549, at 9
26    (Bankr. D.N.J. May 12, 2015) (solar panels purchased from debtors and stored at
      warehouse on undivided basis as part of fungible lot held to be property of
27    purchaser rather than debtor’s bankruptcy estate).
      20
28       Also, as a practical matter, the majority of Monex customers never receive a
      margin call, much less a liquidation. Carabini Decl. ¶44.
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  1   could limit the customer’s damage in a falling market by preventing additional losses
  2   (id. 111:17-112:6) and that the customer could return to the market with a phone call
  3   post-liquidation (id. 80:1-81:9).
  4           Unable to identify any of the risks about which Congress was concerned in the
  5   “actual delivery” exemption, the CFTC pleadings resort repeatedly to
  6   mischaracterizing Monex as a “speculative trading platform” even though its own
  7   30(b)(6) witness effectively admits that term tends to denote a bucket shop without
  8   metals. Goteiner Decl. Ex. 4 (Schwartz) 103:16-105:20, 21:1-8, 8:24-9:17.21
  9   Because Monex: (1) undeniably has metals to back every transaction—the very focus
10    of Congress’ Dodd-Frank exemption—and (2) was in fact the Congressional
11    exemption model, the CFTC’s 30(b)(6) “actual delivery” witness was left with
12    nothing but implausible speculation that Monex hid supposedly relevant facts from
13    Congress with the CFTC, Monex’s investigator, in the hearing room. Id. 21:9-24.
14    Worse, Mr. Schwartz accused Monex of withholding from Congress in 2009 its
15    “control” of metals before the CFTC in 2013 even invented its Hunter Wise
16    “possession and control” notion. Id. 23:19-24:19.
17            7.       The Short/Commodity Loan Is Not a Sham.
18            The CFTC reviewed Monex’s commodity loan/short product in its 1987 and
19    1998 investigations and declined to bring an enforcement action. Walker Decl.
20    ¶¶ 12-13. Thus, the short product was necessarily before the CFTC and Congress
21    during the 2009 Subcommittee Hearing. The CFTC also can articulate no increased
22    delivery or storage risk specifically from the short. See PI Mem. 14-15; Goteiner
23    Decl. Ex. 4 (Schwartz) 86:25-88:22. Instead the CFTC offers the same strawmen of:
24    (1) no customer control and possession; and (2) attacking the commodity transfer
25
26    21
         Mr. Schwartz called Atlas a speculative trading platform because the customer
      pays off the loan before taking possession, the risk of margin calls, and customer
27    speculation on leveraged positions. Goteiner Decl. Ex. 4 (Schwartz) 103:16-
28    105:20, 108:14-21. But the Model Code, Congress, and CFTC Final Guidance, all
      view these as exemption factors.
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  1   notice, which attack Mr. Schwartz rejected in connection with the long Atlas product,
  2   noting that there was no increased risk with Atlas’ passage of title and notice of
  3   transferred ownership. Compare PI Mem 14-15, with Goteiner Decl. Ex. 4
  4   (Schwartz) 61:17-63:8, 72:1-6. Just as the CFTC argues that there is no difference
  5   between the Atlas long and the short in its analysis, the CFTC’s secondary attack on
  6   the short as being speculative suffers from the same contumacy as the CFTC’s
  7   ongoing rejection of Congress’ actual delivery exemption. See PI Mem. 15; see
  8   Carabini Decl. ¶¶30-32 (explaining short).
  9   B.      The CFTC’s Newly-Minted Definition Of Actual Delivery Deprives
10            Defendants Of Fair Notice And Violates Their Due Process Rights.
11            The CFTC’s Complaint violates Defendants’ due process right to adequate
12    warning of the legal consequences of their actions. See MTD 27-33. Indeed, after
13    its initiation of this enforcement action, the CFTC issued a new “proposed
14    interpretation” of the actual delivery exception in the context of virtual currency.
15    The CFTC 30(b)(6) witness first testified that that proposed interpretation was a
16    source of the CFTC’s actual delivery interpretation. Goteiner Decl. Ex. 4 (Schwartz)
17    8:24-9:7. This admission strongly supports Defendants’ due process claim. The
18    proposed Interpretation introduces for the first time many of the same “sham” factors
19    that the Enforcement Division is advancing here, for instance that actual delivery will
20    not have occurred unless the virtual currency is delivered to a depository “that has
21    entered into an agreement with the purchaser,” and the virtual currency is free from
22    “liens . . . resulting from the use of margin, leverage, or financing.” RJN Ex. 9. Due
23    Process prohibits the deployment of these proposed theories against Monex, in
24    contravention of the CFTC’s prior Guidance and Congressional intent.
25    C.      The CFTC’s § 6(c)(1) Fraud Claim Does Not Create Jurisdiction.
26            After spending the majority of its brief arguing that it has jurisdiction over
27    Monex because Atlas transactions do not result in actual delivery, the CFTC abruptly
28    pivots—asserting ipse dixit that it has jurisdiction for its fraud claims even if actual
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  1   delivery occurs. PI Mem. 20 (relying on CEA § 6(c)(1) and Rule 180.1 promulgated
  2   thereunder at 17 C.F.R. § 180.1). CEA § 6(c)(1), amended as part of Dodd-Frank,
  3   makes it: “unlawful for any person, directly or indirectly, to use or employ, or
  4   attempt to use or employ, in connection with any swap, or a contract of sale of any
  5   commodity in interstate commerce, or for future delivery on or subject to the rules of
  6   any registered entity, any manipulative or deceptive device or contrivance, in
  7   contravention of such rules and regulations as the Commission shall promulgate[.]”
  8   7 U.S.C. § 9(1). The CFTC’s fraud allegations are factually baseless as explained in
  9   Section D. But they are also legally irrelevant because the substantive prohibitions
10    of § 6(c)(1) do not override the jurisdictional limitations of § 2 that expressly exempt
11    transactions resulting in 28-day actual delivery. The CFTC’s contumacious reading
12    of § 6(c)(1) would nullify the “actual delivery” exemption in CEA
13    § 2(c)(2)(D)(ii)(aa) and give the CFTC anti-fraud authority over all cash
14    “commodity” transactions “in interstate commerce” including purchases at grocery
15    stores or pawn shops.
16            It is telling that the Commission cites no case supporting this breathtaking
17    jurisdictional grab; it instead cites only to the district court opinion in CFTC v.
18    Hunter Wise Commodities, LLC, 21 F. Supp. 3d 1317 (S.D. Fla. 2014), to list the
19    elements of a fraud case assuming it has jurisdiction in the first place. PI Mem. 21.
20    But, as noted, the Hunter Wise defendants had no metals to deliver. 21 F. Supp. 3d at
21    1327-28, 1330-33. That court reached the fraud allegations only after finding that the
22    defendants made no actual delivery under the section 2(c)(2)(D) exemptions.
23    Nothing in Hunter Wise suggests the CFTC has jurisdiction under § 6(c)(1) for
24    transactions expressly exempted under § 2(c)(2)(D).22
25
26
27    22
        Indeed, in the Eleventh Circuit Hunter Wise opinion the court expressly declined
28    to consider the CFTC’s argument that section 6(c)(1) provides jurisdiction
      independent of the section 2 exemptions. 749 F.3d at 981.
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  1           1.       The CFTC’s § 6(c) Theory Is Contradicted By Controlling Law.
  2           The CFTC’s jurisdiction is defined and limited by CEA § 2 which is
  3   unambiguously entitled “Jurisdiction of Commission.” 7 U.S.C. § 2(a)(1). The
  4   Ninth Circuit has rejected prior CFTC reliance on substantive prohibitions contained
  5   in, and associated regulations promulgated under, other sections of the CEA (as with
  6   the CFTC’s reliance on § 6(c)(1) and Rule 180.1 here) to avoid the express
  7   jurisdictional exemptions in § 2. In CFTC v. White Pine Trust Corp., a pre-Dodd
  8   Frank case, the CFTC brought an anti-fraud action against a foreign currency options
  9   trader claiming that it had jurisdiction under both CEA § 2 and a substantive
10    prohibition contained in 7 U.S.C. § 6c(b) prohibiting “fraud and misrepresentation in
11    the solicitation or offering of options.”23 574 F.3d 1219, 1223 (9th Cir. 2009). The
12    Ninth Circuit held that the CFTC failed to establish its jurisdiction and remanded the
13    case for dismissal, stating that “all roads lead back to section 2 of the Act” and that
14    other substantive provisions of the commodities laws “do not confer jurisdiction on
15    the CFTC by themselves.” Id. at 1223, 1227.24
16            This District subsequently applied White Pine in CFTC v. 20/20 Trading Co.,
17    Inc., a fraud case brought by some of these same CFTC counsel involving a precious
18    metals dealer accused of selling financed metals that it did not actually possess or
19    deliver. Judge Tucker recognized that: “[t]he jurisdiction of the CFTC derives from
20    section 2 of the Act,” which in that case limited the CFTC’s authority to “leveraged
21    contracts” within the meaning of 7 U.S.C. § 2(a)(1)(A) and, by express reference, 7
22    U.S.C. § 23. 2011 WL 2221177, at *4 (C.D. Cal. 2011). The court found that the
23
24    23
         The CFTC also claimed independent jurisdiction under § 13a-1, which provides
25    that courts “shall have jurisdiction to entertain” actions seeking to enjoin violations
      of the commodities laws. The Ninth Circuit held that Section 13a-1 is not a
26    jurisdictional grant but rather a statement of “the relief available to the CFTC
      regarding the claims it is permitted to bring.” 574 F.3d at 1223 & n.3.
27    24
         White Pine also noted that Commission regulations (such as Rule 180.1 invoked
28    here) are irrelevant without independent jurisdiction: “regulations, of course, cannot
      go beyond the jurisdictional limits of the statute.” 574 F.3d at 1223.
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  1   CFTC had “failed to provide any evidence that the [at-issue contracts between the
  2   defendant and its customers] qualify as leverage contracts.” Id. at *5, 7. The court
  3   thus denied the CFTC’s application for a preliminary injunction for lack of CFTC
  4   jurisdiction.
  5           It makes no difference, as the CFTC is likely to argue, that White Pine and
  6   20/20 were decided before the CEA Dodd-Frank amendments. Indeed, it was the
  7   Dodd-Frank amendments to § 2 (the jurisdictional portion of the statute) that
  8   expressly gave the CFTC jurisdiction over certain retail commodity transactions in
  9   the first place (those involving leverage, margin or financing), 7 U.S.C.
10    § 2(c)(2)(D)(i)(II), while expressly exempting any such retail transactions that result
11    in actual delivery within 28 days. Id. § 2(c)(2)(D)(ii)(III)(aa). Both provisions are
12    entitled to equal weight. The obvious purpose of the jurisdictional amendments in
13    § 2 was to give the CFTC jurisdiction over only those retail transactions
14    masquerading as cash delivery transactions but which are in reality futures-type
15    transactions because they result in no actual delivery within a reasonable period of
16    time (28 days) following sale. The Congressional sub-committee was explicit on this
17    point (RJN Ex. 1 at 31, 38, 43), consistent with the CFTC’s Mission Statement to
18    prevent abusive practices, “related to derivatives and other products that are subject
19    to the [CEA].”25 As White Pine instructs, substantive CEA prohibitions (such as
20    anti-fraud prohibitions in § 6(c)(1)) must be read in conjunction with, not as
21    overriding, the express jurisdictional limitations of section 2.26 And, following the
22    Dodd-Frank amendments, § 2 remains captioned “Jurisdiction of Commission.”
23
      25
         U.S. CFTC Mission & Responsibilities, www.cftc.gov/About/MissionResponsi
24    bilities. CEA § 2(a)(1)(A) grants jurisdiction over certain accounts, agreements,
25    and transactions “involving swaps or contracts of sale of a commodity for future
      delivery.” CEA § 1a(27) provides, “the term ‘future delivery’ does not include any
26    sale of any cash commodity for deferred shipment or delivery.” (emphasis added).
      26
         Subsection 2(a)(1)(A) limits CFTC jurisdiction: “The Commission shall have
27    exclusive jurisdiction, except to the extent otherwise provided in . . . subsections
28    (c) and (f)[.]” “Subsection (c)” refers to CEA § 2(c), which defines and limits
      CFTC jurisdiction.
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  1           2.       The CFTC’s § 6(c)(1) Theory Leads To Absurd Results.
  2           That Congress did not intend for the CFTC to wield CEA § 6(c)(1) anti-fraud
  3   authority over every “commodity” sale in interstate commerce is further confirmed
  4   by both the statutory structure and common sense.
  5           First, the Court must read the relevant statutory provisions as a coherent
  6   whole, particularly because they were all amended by Dodd-Frank at the same time.
  7   See Food & Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133
  8   (2000). There is no dispute that the CFTC can bring anti-fraud actions under CEA
  9   § 4b with respect to retail commodities transactions only if the actual delivery
10    exception does not apply. 7 U.S.C. § 2(c)(2)(D)(iii). It would be nonsensical for
11    Congress to exempt in § 2 retail financed transactions with 28-day delivery from the
12    Commission’s broad CEA § 4b anti-fraud jurisdiction (consistent with the Model
13    Code and all prior CFTC precedent), while in the same Dodd-Frank amendments to
14    allow the CFTC to circumvent that framework by asserting claims under § 6(c)(1).
15    See Colautti v. Franklin, 439 U.S. 379, 392 (1979) (recognizing “elementary canon
16    of construction that a statute should be interpreted so as not to render one part
17    inoperative”). Such a reading would make the exception’s specific application to §
18    4b superfluous and should be rejected. That the CFTC is suing Monex under
19    § 6(c)(1), given Congress’ endorsement of Monex’s actual delivery model for the §
20    2(c) exemption, highlights and worsens the CFTC’s derogation.
21            Second, The CFTC’s reading leads to an absurd expansion of its jurisdiction
22    that Congress never would have adopted without explicit discussion. If the 28-day
23    delivery exemption in § 2 did not apply to the anti-fraud prohibitions in § 6(c)(1),
24    then the CFTC—the Commodity Futures Trading Commission—would have
25    limitless anti-fraud jurisdiction over the sale of any defined “commodity” in
26    interstate commerce. That would be true whether the sale involved a futures,
27    leverage or financed contract, or a pure cash sale, even one with immediate delivery
28    such as sales of grains and potatoes at a grocery store or sales of gold coins at a pawn
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  1   shop. Ma v. Ashcroft, 361 F.3d 553, 559 (9th Cir. 2004) (noting that “statutory
  2   interpretations that lead to absurd results are to be avoided”). The CFTC can cite
  3   nothing in the history of the amendments supporting Congressional intent for such a
  4   radical change.
  5           3.       Section 6(c)(1) Is Limited To Market Manipulation.
  6           Even if the Commission could avoid the express actual delivery exemption in
  7   § 2, Congress meant § 6(c)(1) only to address fraudulent manipulation or potential
  8   manipulation of the markets that the CFTC regulates. Nothing supports the notion
  9   that Congress gave the CFTC jurisdiction over ordinary retail sales
10    misrepresentations by non-regulated entities, as the CFTC muses in its brief.
11            A comparison of the structure and language of §§ 4b and 6(c)(1) demonstrates
12    the point. The CEA had already addressed run-of-the-mill retail fraud in CEA
13    § 4b. CEA § 4b, which Dodd Frank made applicable to financed metals transactions
14    not resulting in actual delivery, makes it unlawful inter alia “to cheat or defraud”
15    customers both in exchange traded futures contracts and illegal off-exchange
16    contracts. In contrast, CEA § 6(c)(1) discusses disclosure in broad market terms
17    without focus on individual players, consistent with the section’s anti-market
18    manipulation objective: “no [Commission] rule or regulation . . . shall require any
19    person to disclose to another person nonpublic information that may be material to
20    the market price, rate, or level of the commodity transaction[.]” 7 U.S.C. § 9(1)
21    (emphasis added). Also, § 6(c)(1) repeatedly refers to manipulation, whereas § 4b
22    focuses on bad players cheating customers and in that context cabins the CFTC’s
23    anti-fraud jurisdiction to transactions on regulated markets.
24            Even before Dodd-Frank, the CEA already made it a felony to knowingly
25    “manipulate or attempt to manipulate the price . . . of any commodity in interstate
26    commerce.” 7 U.S.C. § 9(3). But this provision required proof of specific intent to
27    affect market prices, making CFTC enforcement all but impossible. RJN Ex. 10 at
28    40-41 (CFTC Chairman Gensler); RJN Ex. 4 at S3348 (Sen. Cantwell introducing
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  1   § 753). Congress’ purpose in CEA § 6(c)(1) was to strengthen the CFTC’s weak
  2   tools for bringing manipulation cases to protect businessmen relying on the integrity
  3   of commodities markets, not to address retail consumer fraud: “This amendment is
  4   about protecting the integrity of markets for people who rely on them for their
  5   business.” RJN Ex. 4 at S3348 (Sen. Cantwell)). The § 6(c)(1) amendments and the
  6   Commission’s Rule 180.1 were thus not meant to make the CFTC a nationwide sales
  7   fraud policeman, but merely to “augment the Commission’s existing authority to
  8   prohibit fraud and manipulation.” 76 Fed. Reg. 41398, 41401 (July 14, 2011)
  9   (emphasis added).27 This augmentation was necessary since, as Senator Cantwell
10    pointed out, “In the 35 years of its history, the CFTC has only successfully
11    prosecuted one single case of manipulation.” RJN Ex. 4 at S3348. With the section
12    6(c) amendments, Congress permitted a general civil manipulation or recklessness
13    standard under CEA § 6(c) as an alternative to the criminal manipulation scienter
14    element under CEA § 9(a)(2), and jettisoned the causation element of having to
15    prove a manipulation’s actual impact on prices. 76 Fed. Reg. at 41401, 41404; 17
16    C.F.R. § 180.1.
17            Section 6(c) did not, however, give the CFTC general retail fraud authority
18    over all cash markets absent potential manipulation. Indeed, the CFTC expressly
19    rejected as “misplaced” any concerns that the use of the term “commodity” in Rule
20    180.1 would apply “to virtually every commercial transaction in the economy.” 76
21    Fed. Reg. at 41,401. It instead assured market participants that it, “expects to
22    exercise its authority under § 6(c)(1) to cover transactions related to the futures or
23    swaps markets, or prices of commodities in interstate commerce, or where the fraud
24    or manipulation has the potential to affect cash commodity, futures, or swaps markets
25
26    27
        Before Dodd-Frank, the CFTC already had cash market manipulation jurisdiction
      when it affected futures prices even though it did not have then, and does not have
27    now, the power to regulate the cash market. See CFTC v. Reed, 481 F. Supp. 2d
28    1190, 1196-97 (D. Colo. 2007) (finding allegations that cash market manipulations
      affected natural gas futures prices to be within the CEA’s jurisdiction).
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  1   or participants in these markets.” Id. (to be codified at 17 C.F.R. § 180) (emphasis
  2   added). The Commission also referred to subsection G of the rules, which said that
  3   “in connection with” means in connection with futures contracts. Id. at 41,405-06.
  4           The CFTC’s misinterpretation here also ignores the CFTC Director of
  5   Enforcement David Meister’s contemporaneous presentation to the Commissioners
  6   leading to adoption of Rule 180, a presentation which focused on fraudulent market
  7   manipulation and never mentioned run-of-the-mill consumer fraud, consistent with
  8   Chairman Gensler’s comments. RJN Ex. 10 at 34-35, 38, 52 (David Meister,
  9   Enforcement Division), 40 (Gensler). Indeed, Meister could not think of a
10    hypothetical that “suggested a distinction or difference between fraud and fraud
11    based manipulation.” Id. at 52. If section 6(c)(1) and Rule 180.1 were meant to
12    cover every routine sales misrepresentation, those hypotheticals would abound.
13            Moreover, Dodd-Frank § 753, which added these amendments, was entitled
14    “Anti-Manipulation Authority,” and five of the statute’s next eight subheadings
15    mentioned “manipulation,” including § 6(c)(1) entitled “PROHIBITION AGAINST
16    MANIPULATION.” CEA § 6(c)(1) prohibits the use of “any manipulative or
17    deceptive device or contrivance” in connection with, among other things, cash
18    commodity sales. 7 U.S.C. § 9(1). Section 6(c)(3) makes it unlawful “to manipulate
19    or attempt to manipulate” their price. Id. § 9(3). And each time that Rule 180.1
20    mentioned penalties or lowering the scienter standard to recklessness, the CFTC
21    discussed only manipulation of prices and of markets, not penalties or scienter for
22    consumer fraud. See, e.g., 76 Fed. Reg. at 41,404-05 & nn. 72, 77, 79, 80
23    (“algorithmic market manipulation”), 81 (“automatic trading systems”), 82-85, 86
24    (Commission Determination referring to manipulation-based comments), 90.
25            “Congress is presumed to understand the legal import of words it uses in light
26    of existing case law.” Dep’t of Toxic Substances Control v. Interstate Non-Ferrous
27    Corp., 99 F. Supp. 2d 1123, 1133 (E.D. Cal. 2000). The word “manipulative” is
28    “especially significant” because it “is and was virtually a term of art” that “connotes
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  1   intentional or willful conduct designed to deceive or defraud investors by controlling
  2   or artificially affecting the price of securities.” Ernst & Ernst v. Hochfelder, 425
  3   U.S. 185, 199 (1976). The CFTC acknowledges that this specialized meaning
  4   applies to the CEA. See 76 Fed. Reg. at 41,400 & n.13.
  5           While there are few decisions interpreting section 6(c)(1), one decision
  6   rejected a similar CFTC attempt, albeit in a different context, to read “manipulative”
  7   and “deceptive” in the disjunctive so as to expand agency jurisdiction. CFTC v.
  8   Kraft Foods Grp., Inc., 153 F. Supp. 3d 996 (N.D. Ill. 2015). Kraft, relying on
  9   Hochfelder, rejected the CFTC’s literal reading of section 6(c)(1)’s use of the
10    disjunctive “or” between “manipulative” and “deceptive” to mean you could have
11    one without the other. There, the CFTC argued that the statute’s use of the
12    disjunctive meant that it could prosecute manipulation without having to show
13    deception. Notwithstanding the statutory language, Kraft rejected this interpretation
14    as leading to absurd, unintended results. 153 F. Supp. 3d at 1010. While in Kraft the
15    CFTC was arguing that it could use section 6(c)(1) to prove manipulation without
16    deception, the result should be the same here where the CFTC argues it can prove
17    deception without manipulation. Notwithstanding the statute’s disjunctive language,
18    the points made here demonstrate that neither Congress nor the Commission
19    envisioned the kind of radical jurisdictional expansion that the Enforcement Division
20    seeks here.28
21            Against this backdrop, the CFTC wrongly suggests that the Court find that it
22    now has jurisdiction to regulate every routine sales misrepresentation involving any
23    retail commodity sale in the country, regardless of whether the transaction was a
24    futures or cash transaction and regardless of whether the practices had any impact or
25    even potential impact on markets the CFTC does have jurisdiction to regulate. The
26
      28
        Tellingly, the CFTC itself never mentioned § 6(c)(1) as an independent
27    jurisdictional grant when it commented to the public concerning its Dodd-Frank
28    § 2(c)(2)(D) jurisdictional authority over retail commodity transactions. RJN Ex. 6
      (Request for Comments) at 77671 n.7.
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  1   Court should reject that invitation. See, e.g., Indep. Ins. Agents of Am., Inc. v. Bd. of
  2   Governors of Fed. Reserve Sys., 838 F.2d 627, 632 (2d Cir. 1988) (courts should not
  3   defer to “dubious” agency arguments to avoid limits on their jurisdiction).
  4   D.      There Is No Evidence of Fraud To Support The Requested Relief.
  5           Even if the CFTC has proper jurisdiction to pursue its fraud claims, it has
  6   failed to present evidence of fraud, much less a “pervasive,” “ongoing,” and
  7   “massive” fraud to justify the extreme injunctive and freeze relief it now seeks. PI
  8   Mem. 2, 19. It is undisputed that Monex lent real money to customers and that real
  9   metal was purchased for each and every Atlas customer. The crux of the CFTC’s
10    theory of “widespread” and “massive” fraud against thousands of customers is that
11    Monex’s marketing materials and uniform sales practices purportedly downplay the
12    risk of financed investing and lure customers into risky leveraged trades with the
13    “false promise of a safe, secure and profitable investment,” PI Mem. 19, while failing
14    to disclose that 90% of Monex customers lose money because of high costs, see id. at
15    22-27. This failure makes every admittedly benign Monex marketing statement a
16    misrepresentation because it is “virtually impossible” to make a profit at Monex. Id.
17    at 1. The CFTC’s 30(b)(6) witness and expert backed away from all these assertions,
18    leaving the CFTC with an individualized customer-account representative interaction
19    theory (case-by-case per the CFTC’s expert) based on 8 customer declarations and 2
20    former account representative declarations, all now discredited.29
21            1.       Customers Lost Because of the Market, and Profits Were Far From
22                     Virtually Impossible According to the CFTC’s Expert.
23            The CFTC asserts what is largely an omission theory based on its contention
24    that Monex’s cost structure makes it virtually impossible to profit and that 90% of
25    Monex customers lost (during a down trending market), thus requiring Monex to
26
27    29
        The CFTC initially submitted 12 customer declarations with its PI Motion but has
28    since withdrawn reliance on 4 of them (Susan Cappello, Brian Caulfield, Candice
      Hubert, and Sheena Liu). See Goteiner Decl. Ex. 7 (12/6/2017 Email).
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  1   inform customers of this supposed “fact” or not sell at all. See, e.g., PI Mem. 1
  2   (“virtually impossible to profit”), 19 (costs are “the heart of the problem”), 21 (“no
  3   informed and rational investor” would invest with Atlas), 21 (“the structure of the
  4   investment itself” makes Atlas “an almost certain loser”, because of fees and margin
  5   calls as well as customer lack of “control and possession”); see also Goteiner Decl.
  6   Ex. 3 (Gomberg III) 31:9-32:17. The CFTC’s position is both legally unsupported
  7   and factually false.
  8           Legally, the CEA requires no track-record disclosure for non-discretionary
  9   accounts. No law prohibits Monex from setting fees and costs at its discretion. And
10    the CFTC and its expert admit those fees and costs are clearly disclosed. Goteiner
11    Decl. Ex. 5 (Selvaggio I) 190:19-194:19 (break-even analysis), 251:9-21 (costs and
12    fees); Ex. 1(Gomberg I) 73:1-74:25. Factually, it was not costs that primarily drove
13    customer account performance; it was market prices, a fact that the CFTC’s expert
14    and 30(b)(6) witness were forced to admit despite the CFTC omitting reference to the
15    down-trending market in its pleadings. Goteiner Decl. Ex. 3 (Gomberg III 43:5-44:2
16    (“of course” market prices caused losses); Ex. 6 (Selvaggio II) 73:17-74:10 (8 of his
17    10 sample customers would have lost without being charged any fees or costs);
18    accord, Monex’s expert David Ross Decl.¶¶ 31, 36, 38 & Ex 8. The CFTC’s own
19    expert called the no profit potential claim “hyperbole” (Goteiner Decl. Ex. 5
20    (Selvaggio I) 169:13-24, 172:25-173:12) and conceded he saw no reason why
21    customers could not profit at Monex. Id. 160:22-161:3. Monex’s expert agreed.
22    Ross Decl. ¶¶10, 15-16, 31-35. The CFTC’s expert “study” based on a biased
23    sample is so flawed that Monex has filed a Daubert motion. Monex respectfully
24    directs the Court to that motion for a full accounting of the CFTC’s misguided
25    approach to proving a non-existent firm-wide “fraud.”30 See ECF Dkt. 154.
26    30
        Ironically, while the CFTC complains without competent evidence that Monex
27    costs drive losses, trading commentators generally agree that 80-95% of
      commodities traders lose money. See Goteiner Decl. Exs. 36-38. This further
28    undermines the CFTC’s contention that it is Monex-specific costs or the Atlas
      “structure,” that drive any commodity trading losses at Monex.
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  1           2.       There Are No Material Misstatements Or Omissions in the
  2                    Relevant Documents.
  3           The CFTC’s firm-wide misrepresentation-by-omission case fails based on its
  4   own 30(b)(6) witness and declarants’ admissions that Monex’s marketing materials
  5   are only deceptive because of the CFTC’s discredited “virtually impossible profit”
  6   claim. E.g., PI Mem. 1, 23-25, 26; Goteiner Decl. Ex. 2 (Gomberg II) 541:21-543:18
  7   (losses are “only an omission when the product is marketed and represented as a safe
  8   secure investment”). According to the CFTC, even Monex’s detailed and admittedly
  9   clear risk disclosure, stated verbally and in writing before an account is opened and
10    again with each trade, is deceptive because it does not include the CFTC’s
11    demonstrably false assertion than 90% of all Atlas accounts lose money due to costs.
12    Goteiner Decl. Ex. 2 (Gomberg II) 629:8-631:10, 638:21-639:9. This is not the law.
13                     a.       Atlas Marketing Materials and Statements Are Not False and
14                              Admittedly Influenced No Customer.
15            First, the marketing statements are not materially false. Gomberg, as the
16    30(b)(6) witness, admitted (sometimes with pushback) that Monex’s marketing
17    materials do not: a) limit or de-emphasize risk of loss (Goteiner Decl. Ex. 1
18    (Gomberg I) 355:1-12; Ex. 3 (Gomberg III) 161:18-163:5), b) guarantee profits, or c)
19    state that Atlas would more likely be profitable than not (Ex. 2 (Gomberg II) 574:25-
20    576:16). None of the Monex marketing materials he reviewed suggested “for a
21    heartbeat that there was no risk of loss.” Ex. 1 (Gomberg I) 357:20-358:9. Gomberg
22    instead noted that Monex’s website collects links to various third-party political and
23    economic articles, including WSJ articles, and argued that some such articles (having
24    nothing to do with Monex Atlas) paint a “rosy picture of shielding wealth and profit
25    opportunities” with metals investing generally. Goteiner Decl. Ex. 2 (Gomberg II)
26    576:17-577:19. He later acknowledged that even these materials only suggested
27    “possible” profits if prices increased. Id. at Ex. 3 (Gomberg III) 194:4-25.
28            The CFTC’s lead misrepresentation point is that Monex marketed Atlas as a
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  1   safe and secure investment that would be profitable, notwithstanding Monex’s
  2   admittedly clear and repeated risk disclosures disclaiming any such guarantee. PI
  3   Mem. 23-26. The CFTC relies heavily on the Atlas brochure’s statement that Atlas
  4   is a “unique and powerful way to acquire precious metals with the strength of
  5   investment leverage combined with the safekeeping security of independent
  6   depository storage.” PI Mem. 24-25 (quoting brochure); see also Walker Decl. Ex.
  7   D. However, Gomberg finally conceded that he understood that the safekeeping
  8   security language did not describe secure leveraged investing, but only depository
  9   security. Goteiner Decl. Ex. 3 (Gomberg III) 87:1-5, 89:25-90:7; 91:24-92:7 (“built
10    in security” phrase refers to depository storage); 105:22-106:25 (he doesn’t know if
11    anyone at the CFTC shares his disowned interpretation); 101:21-103:16 (he didn’t
12    ask customers how they interpreted marketing material language and has no support
13    that customers shared CFTC interpretation.).
14            Second, virtually all of the CFTC’s witnesses acknowledge that they
15    approached Monex on their own initiative after making an independent decision to
16    invest in precious metals, and not based on the CFTC’s distorted misreading of
17    Monex marketing statements.31 Indeed, not one of the CFTC’s witnesses testified,
18    either by declaration or in deposition testimony, that they read or relied on the
19    statements in the Atlas Brochure or Monex website that the CFTC asserts are
20    perpetrating a nationwide fraud.32 The CFTC’s 30(b)(6) witness had no evidence to
21    contest or explain this fact (Goteiner Decl. Ex. 1 (Gomberg I) 336:10-18 (“would
22    have to review notes” to answer); Ex. 2 (Gomberg II) 509:5-510:24 (except for his
23    misstatement of declarant Staub testimony)), and the CFTC made no effort to
24    determine if any misrepresentations caused customer losses (Ex. 1 (Gomberg I)
25    31
         For the convenience of the Court, Defendants have prepared charts comparing
26    various of the CFTC’s evidentiary claims with the actual testimony of the CFTC’s
      Declarants. See, e.g., Goteiner Decl. ¶¶ 16 (Cotton), 23 (Bar), 28 (Rosenbaum), 31
27    (McNamee), 41 (Hadden), 34 (McLaughlin), 45 (Mustazza), 50 (Pugliese), 37
28    (Staub), Collectively (“Comparison Charts”.)
      32
         See Comparison Charts, Goteiner Decl. ¶¶ 16, 23, 28, 31, 34, 37, 41, 45, 50.
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  1   290:25-291:17). This makes implausible, gently put, the CFTC’s theory of
  2   thousands of customers being “lure[d]” by Monex’s marketing materials into “risky
  3   leveraged Atlas trading with the false promise of a safe, secure and profitable
  4   investment.” PI Mem. 19.
  5           Third, such criticisms and the remaining CFTC-challenged marketing
  6   statements are either (a) non-actionable opinion, as the CFTC’s 30(b)(6) witness
  7   admitted (Ex. 2 (Gomberg II) 461:25-462:6, 462:18-463:20); (b) non-actionable
  8   description, such as calling margined precious metals trading “powerful,”33 (c) loose
  9   talk of possible profits depending on price direction of metals (“precious metals can
10    produce impressive investment metal returns” (PI Mem. 25), or “If gold were to
11    increase by $100 per ounce in the next year . . .”)34; or (d) well within the range of
12    immaterial “puffery” in its multiple forms that courts routinely reject as the basis for
13    a fraud claim. See, e.g., Glen Holly Entm’t, Inc. v. Tektronix, Inc., 100 F. Supp. 2d
14    1086, 1093 (C.D. Cal. 1999) (“assertions that a particular product is the ‘best’ or
15    speculative statements about possible profits are non-actionable opinions (‘puffing’)
16    and a party is not entitled to rely upon them”); Shroyer v. New Cingular Wireless
17    Servs., Inc., 622 F.3d 1035, 1043 (9th Cir. 2010) (fraud count properly dismissed
18    where alleged statements constituted “mere commercial ‘puffery’” providing
19    “nothing concrete upon which [defendant] could reasonably rely”). Monex
20    respectfully refers the Court to its prior briefing on these issues. See MTD 11-18.
21            Fourth, Monex’s repeated oral and written risk disclosures, including with
22    every trade, overwhelm any CFTC alleged misstatements and omissions.35 See MTD
23    7-8 (ECF Dkt. 41-1). All customers wishing to open an Atlas account must sign
24
      33
25       CFTC v. J. S. Love & Assocs. Options, Ltd., 422 F. Supp. 652, 655-56 & n.9
      (S.D.N.Y. 1976) (taking no issue with statement that options were “powerful” tool).
      34
26       See Searls v. Glasser, 64 F.3d 1061, 1067 (7th Cir. 1995) (finding that statements
      about disposition gains are mere “loose predictions” and thus not actionable).
27    35
         Puckett v. Rufenacht, Bromagen & Hertz, Inc., 903 F.2d 1014, 1019 (5th Cir.
28    1990) (no fraud for failing to disclose risks where customers signed risk disclosure
      statement).
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  1   Account Agreements containing these disclosures and represent to a Monex
  2   representative, following a separate verbal disclosure and customer affirmation, that
  3   they have reviewed, understand and agreed to be bound by, the Account
  4   Agreements.36 The CFTC admits that these risk disclosures are clear to customers.
  5   Goteiner Decl. Ex. 1 (Gomberg I) 39:20-24 (he is sure from memory that some parts
  6   were clear and easy to understand), 73:1-74:25 (except for his speculation); Ex. 2
  7   (Gomberg II) 634:4-634:8 (risk disclosure “clear” to even the “green” Atlas
  8   investor); Ex. 3 (Gomberg III) 116:17-126:17 (reviewing the risk disclosure
  9   paragraphs). The disclosures are so clear, “easy to understand,” and “detailed” on
10    their face that another CFTC’s declarant (a former Monex AR and experienced
11    industry broker) called them a “sales killer” because of the disclosure’s deterrent
12    effect on prospective customers. Ex. 17 (Rosenbaum) 115:25-116:10 (disclosures
13    are especially detailed), 116:4-9 (disclosures are easy to understand), 398:14-399:3,
14    400:19-22 (disclosure of risks is sales killer). Likewise, the CFTC’s own expert
15    acknowledged that the disclosures were not “designed to obfuscate” or to be “in any
16    way misleading.” Goteiner Decl. Ex. 5 (Selvaggio I) 191:1-193:7. These clear and
17    voluminous disclosures, which Monex never de-emphasized (Ex. 1 (Gomberg I)
18    355:1-12, 357:20-358:9), eliminate any basis for the CFTC to contend, or for the
19    Court to conclude, that the few marketing statements plucked out of context are
20    evidence of a “systematic” and “massive” fraud (even assuming they were false,
21    which they are not).
22            Unsurprisingly, the CFTC customer declarants easily understood the full risk
23    disclosures when they read them during trading or during their deposition.37
24                     b.       There is No Duty To Disclose Customer Track Records.
25            Even if the CFTC’s false customer track record and profitability probabilities
26
27    36
         Gomberg admitted that no interviewed Atlas customer ever told him that he/she
28    didn’t listen to the oral risk disclosure. Ex. 3 (Gomberg III) 127:13-128:10.
      37
         See Comparison Charts, Goteiner Decl. ¶¶ 16, 23, 28, 31, 34, 37, 41, 45, 50.
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  1   were true, nothing in the CEA imposes an obligation to disclose non-discretionary
  2   account track records. E.g., CFTC v. Commonwealth Fin. Grp., Inc., 874 F. Supp.
  3   1345, 1353 n.10 (S.D. Fla. 1994) (noting that CFTC did not argue defendants’
  4   “salespeople are required to inform customers of losses” and agreeing that they are
  5   not, absent emphasis on profits).
  6            The CFTC’s heavy reliance on CFTC v. R.J. Fitzgerald & Co., 310 F.3d
  7   1321, 1332 (11th Cir. 2002), is unavailing. There defendants hyped in uniform
  8   presentations that the market was “ripe for ‘huge’ profits of ‘200-300 percent,’”
  9   based on the claimed inevitability of El Nino, with only generic risk disclosure and
10    claims of a “limited risk” option contract, and with plenty of regulatory notice to
11    defendants concerning their unbalanced presentation. Id. at 1333-34. Even with
12    those extreme facts, the majority decision invoked a vigorous dissent that took the
13    majority to task for inventing track record disclosure requirements. Id. at 1346
14    (Wilson, J., dissenting) (“This is not a case where the APs misrepresented the firm's
15    track record or lied about successes in the past.”). Here, by contrast: (1) Monex
16    provided detailed and “killer” risk disclosures, including disclosures with every
17    transaction; and (2) Gomberg admitted that: (a) that any references to safety and
18    security (the CFTC’s primary alleged misrepresentation) referred only to depository
19    storage and not to trading risks; (b) that Monex did not de-emphasize or limit risk; (c)
20    that Monex neither predicted profitable trading nor discussed other customers’
21    success, let alone suggest “enormous profits,” as in Fitzgerald; and (d) no one,
22    including Monex, had notice of the CFTC’s litigation-specific misinterpretation of
23    Monex’s marketing material.
24            Further, Congress and the CFTC know how to impose track record disclosure
25    requirements when they want to. Congress did so post-Zelener with foreign currency
26    dealers. See 17 C.F.R. § 5.18(i). That they didn’t with financed precious metals
27    dealers further compounds the unfair surprise to Monex.
28
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  1                    c.       The Challenged Training Materials Do Not Establish Fraud,
  2                             And In Any Event Have Been Discontinued.
  3           The CFTC wrongly asserts that Monex’s sales representatives were trained to
  4   present themselves as “fiduciaries” and engage in high-pressure sales tactics. PI
  5   Mem. 29. First, no CFTC customer witness claims that any Monex AR called
  6   themselves a “fiduciary,” let alone was trained to do so. The deposition evidence
  7   (from CFTC ex-employee witnesses) is to the contrary. Goteiner Decl. Ex. 17
  8   (Rosenbaum) 349:25-350:19; Ex. 25 (McNamee) 96:7-9. And the CFTC’s internal
  9   documents, pried from the CFTC after motion practice, confirm that after speaking
10    with no less than 13 account representatives, only one AR even mentioned the term
11    “fiduciary” (saying according to hearsay notes that he had heard it “batted” around in
12    unspecified contexts and without saying that ARs ever told customers that ARs owed
13    a fiduciary duty to customers), while at the same time denying that Monex trained
14    ARs to represent themselves to customers as fiduciaries.38 This is entirely consistent
15    with the disclosures made by Monex in the Account Agreements that Monex’s
16    representatives are not acting as fiduciaries. Walker Decl. Ex. C at 12, ¶ 4.2 (PSA);
17    id. at 34, ¶ 36k (LSSA).
18            The CFTC nonetheless asks the Court to draw an inference of widespread
19    fraud based on a few statements buried in over 100 pages of transcribed training
20    videos that, according to the CFTC, are designed to “overcome hesitancy by falsely
21    telling customers that they are their ‘fiduciaries’ and will act in their best interests.”
22    PI Mem. 29. While Monex agrees that any reference to “fiduciary” should not be
23    used (as its Account Agreements make clear), the CFTC goes too far in contesting
24    other sales training statements and puffery as fraudulent. E.g., Johnson v. Don
25    38
        See Goteiner Decl. Ex. 42 (CFTC notes of Sean Kirksey interview): “Don’t
26    believe they were instructed to say, ‘I’m your fiduciary.” Gomberg admitted that
      Kirksey was the “only” ex-employee interviewee to mention “fiduciary” but could
27    not recall any specifics. Ex. 2 (Gomberg II) 404:8-21. The unsigned draft
28    declaration prepared after Kirksey’s interview tellingly makes no mention of
      “fiduciary.” Ex 43.
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  1   Charles & Co., 1991 WL 83511, Comm. Fut. L. Rep. (CCH) ¶ 24,986, 1991 WL
  2   83511, at *1, 4 (Jan. 16, 1991), and similar authority (discussed in MTD at 18).
  3   Even if the phrase “in your best interests” is somehow pushy, that it is found in
  4   several of the CFTC-drafted customer declarations for customers claiming to recall
  5   that identical phrase from 2011-2012, is not credible. If the phrase was occasionally
  6   used, that would not suggest any Monex liability in the face of Monex’s full and
  7   repeated risk disclosures with no Monex firm-wide de-emphasis of risk, as the CFTC
  8   has admitted.
  9           In any event, and to remove any suggestion of any ongoing harm to anyone,
10    Monex has made sure that all the CFTC-challenged training has stopped to the
11    limited extent that it was ever either occurring or deployed. See Walker Decl. ¶¶ 27-
12    28.
13                     d.       The Sales Practices Do Not Suggest Fraud.
14            The CFTC next asks the Court to draw an inference of widespread fraud based
15    on “high pressure sales tactics,” pressuring customers to buy and sell frequently. PI
16    Mem. 29. First, there is no evidence to support such an ersatz firm-wide churning
17    charge, particularly where the median number of trades in leveraged accounts was
18    only four. Ross Dec. ¶ 28 & Ex. 6. And, as discussed above, Selvaggio admitted
19    that the CFTC’s sample was “biased”—really skewed—to create the false impression
20    of heavily traded accounts. Goteiner Decl. Ex. 5 (Selvaggio I) 42:11-43:15, 45:20-
21    24; Ex. 6 (Selvaggio II) 31:9-32:10. Even CFTC declarant Cotton, whose CFTC-
22    drafted declaration suggested high pressure, admitted in deposition that there was no
23    high pressure. Compare Cotton Decl. ¶ 23, with Goteiner Decl. Ex. 9 (Cotton) 56:7-
24    13, 165:7-21. For good reason, the CFTC admitted it did not even look for firm-wide
25    churning. Goteiner Decl. Ex. 3 (Gomberg III) 60:5-10.
26            There is no law against salesmen attempting to be persuasive, and sales tactics
27    are not unlawful unless they are accompanied by something that is itself
28    independently unlawful. United States v. Amlani, 111 F.3d 705, 718 (9th Cir. 1997);
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  1   Karpov v. Insight Enters., Inc., 2010 WL 2105448, at *6 (D. Ariz. Apr. 30, 2010);
  2   Iappini v. Silverleaf Resorts, Inc., 116 F. Supp. 3d 932, 940 (E.D. Mo. 2015). Mr.
  3   Gomberg received no evidence from his customer and ex-employee interviews that
  4   account representatives made misrepresentations to clients, except that he recalled
  5   ex-employee McNamee saying that she saw an AR berating a customer, but
  6   Gomberg could not provide more information without checking his notes, which he
  7   never provided. Goteiner Decl. Ex. 1 (Gomberg I) 341:17-343:8; see also
  8   McNamee’s contradictory testimony at Goteiner Decl. ¶ 41 .
  9           The CFTC also asks the Court to infer fraud because Monex’s account
10    representatives were compensated by commissions and incentivized to open Atlas
11    accounts. See PI Mem. 32. But Mr. Gomberg had no evidence that any account
12    representative misrepresented any fact to customers to obtain any $500 bonus.
13    Goteiner Decl. Ex. 1 (Gomberg I) 339:20-340:20. Furthermore, Monex disclosed
14    commissions to customers so they could not have been part of a scheme to deceive.
15            The CFTC also asserts a firm-wide scheme to trick customers into moving
16    from fully paid purchases into the “leveraged Atlas trap,” without the customers
17    knowing about the alleged bait and switch (PI Mem. 25, 27). But any such firm-wide
18    claim is utterly implausible given the oral and written risk disclosure about leveraged
19    trading, the tapes of each transaction where Monex reads the purchase price to the
20    customer (purchasing $50,000 worth of silver for $10,000 means it’s financed
21    (Carabini Dec ¶¶ 33-36), the CFTC-admitted clear transaction confirmation
22    statements stating the amount of the purchase and clear monthly account statements
23    showing the loan balances (Ex. 2 (Gomberg II) 615:1-20, Ex. 5 (Selvaggio) 198:24-
24    201:8), continual access to on line account information and access and to ARs.
25    Carabini Dec.¶36. Accord, Pugliesi’s and Bar’s discredited testimony. Goteiner
26    Decl. ¶¶ 50, 23
27                     e.       The CFTC Blinded Itself To The Truth.
28            The CFTC blindly accepted as true implausible stories from a handful of
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  1   disgruntled customers without conducting any reasonable due diligence, including
  2   not reviewing account statements, confirmation statements or risk disclosures with
  3   customers to determine how customers actually interpreted them, even when the
  4   customers’ understanding of such documents would make implausible, for instance,
  5   customer claims that they didn’t know that they were financed. E.g., Goteiner Decl.
  6   Ex. 1 (Gomberg I) 33:3-34:13, 35:6-12, 70:25-71:15, 305:16-306:8; Ex. 2 (Gomberg
  7   II) 615:1-20. The CFTC even wrote and submitted a customer declaration (Dr. Bar)
  8   that it should have known was false because it squarely contradicted admissions in
  9   Dr. Bar’s prior arbitration claim that she knew from the get-go that she was on
10    margin, trading, and losing money. See Goteiner Decl. Ex. 3 (Gomberg III) 142:23-
11    144:5 (confirming CFTC staff knowledge of arbitration claim), and Goteiner Decl.
12    Ex. 12 (Bar). Witness Cotton was so surprised by his CFTC-drafted declaration,
13    which allegations he repeatedly rejected in deposition, that he exclaimed in his
14    deposition “who wrote this? Who wrote this thing?” Goteiner Decl. Ex. 9 (Cotton)
15    165:7-21. Space limitations prevent Defendants from providing detailed analysis of
16    each of the declarants’ statements, however the core declaration and PI
17    Memorandum contradictions are highlighted in the concurrently-filed Comparison
18    Charts. See generally Goteiner Decl. ¶¶ 16, 23, 28, 31, 34, 37, 41, 45, 50.39
19             Dated: February 20, 2018                     Respectfully submitted,
20
                                                            FARELLA BRAUN + MARTEL LLP
21
22
                                                            By:       /s/ Neil A. Goteiner
23                                                                Neil A. Goteiner
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                                                            Attorneys for Defendants
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           Monex notes that for injunctive relief purposes, the declaration events are stale.
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